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VAN−020 Deficiency Notice − Petitions (Local) − Rev. 07/08/2019

                               UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                                          Wilmington Division



                                                                   CASE NO.: 19−04601−5−SWH

IN RE:                                                             DATE FILED: October 4, 2019

                                                                   CHAPTER: 13


Susan Mariann Weakley                                              Debtor represented by:
( known aliases: Susan Mariann Dahlke )                            Susan Mariann Weakley
609A Piner Road #102                                               609A Piner Road #102
Wilmington, NC 28409                                               Wilmington, NC 28409




Trustee:
Joseph A. Bledsoe III
PO Box 1618
New Bern, NC 28563



                                                          DEFICIENCY NOTICE

To: Susan Mariann Weakley


The petition submitted to the court on behalf of the above referenced debtor(s) has been filed. However,
the petition is deficient as noted below. All deficiencies should be corrected by October 9, 2019 . Failure to
do so may result in the petition being dismissed.

The motion for temporary waiver of the credit counseling course requirement due to exigent circumstances
was omitted.

DATED: October 4, 2019

                                                                   Amy Bissette
                                                                   Deputy Clerk
